         Case 1:17-cr-00548-JMF Document 350 Filed 03/09/20 Page 1 of 2
                                          U.S. Department of Justice
[Type text]
                                                       United States Attorney
                                                       Southern District of New York

                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007


                                                       March 5, 2020




By Email

The Honorable Paul A. Crotty
United States District Judge
Southern District of New York
500 Pearl Street, Courtroom 14C
New York, New York 10007

       Re:     United States v. Joshua Adam Schulte, S2 17 Cr. 548 (PAC)

Dear Judge Crotty:

        We write in response to the defendant’s letter of earlier today requesting that the Court halt
deliberations and conduct individual voir dire of Jurors 2 through 4 and 6 through 12. The
defendant’s request should be denied. Other than the information contained in Court Exhibits 15
and 17, there is no indication that any juror has received “extra-record information.” With respect
to the information identified in the Court Exhibits, the Court has already conducted the necessary
inquiry to ensure that the jury has not been exposed to extrajudicial information. At the defense’s
request, the Court examined Juror 1 who recounted the statements made by Juror 5 with the other
jurors present. Given that Juror 5’s statements were made to all of the other jurors at the same
time, the Court knows precisely what information was conveyed to the other members of the jury.
Moreover, Court Exhibits 15 and 17 clearly described what had happened with respect to Juror 5.

        Accordingly, there is no need to inquire of the other jurors and “any such investigation is
intrusive and may create prejudice by exaggerating the importance and impact of what may have
been an insignificant incident.” United States v. Abrams, 137 F.3d 704, 708 (2d Cir. 1998); see
also United States v. Ruggiero, 928 F.2d 1289, 1301 (2d Cir. 1991) (“[D]ecisions as to when to
question jurors and the manner of that inquiry are generally left to the trial judge’s broad discretion.
We note, moreover, that ‘if the members of the jury are questioned in depth about a possible jury
tampering incident, they may become so prejudiced that the accused cannot obtain a fair trial.’”
(quoting United States v. Moten, 582 F.2d 654, 661 (2d Cir. 1978)); United States v. Burrous, 147
         Case 1:17-cr-00548-JMF Document 350 Filed 03/09/20 Page 2 of 2

The Honorable Paul A. Crotty, U.S.D.J.
March 5, 2020
Page 2

F.3d 111, 118 (2d Cir. 1998) (holding that the district court did not abuse its discretion in not
conducting individual voir dire where there was “no reason to believe that the fairness of other
jurors had been tainted in any way”).

                                                    Respectfully submitted,

                                                    GEOFFREY S. BERMAN
                                                    United States Attorney

                                                by: ____/s/______________________________
                                                    Matthew Laroche / Sidhardha Kamaraju /
                                                    David W. Denton, Jr.
                                                    Assistant United States Attorneys
                                                    (212) 637-2420 / 6523 / 2744

cc: Defense Counsel (by email)
